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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
UNITED STATES OF AMERICA,            )
                                     )
            v.                       )
                                     )
PAUL J. MANAFORT, JR.,               )
                                     )
               Defendant.            )
____________________________________)
                                     )
IN RE: PETITIONS FOR RELIEF          )
CONCERNING CONSENT ORDER OF )                          Case No. 1:18-mc-00167-ABJ
FORFEITURE                           )
____________________________________)


    PETITIONERS THE FEDERAL SAVINGS BANK AND NATIONAL BANCORP
    HOLDINGS, INC.’S SURREPLY IN OPPOSITION TO THE GOVERNMENT’S
                        MOTION FOR DISCOVERY

       The government’s Reply in Support of Its Motion for Discovery Under Federal Rule of

Criminal Procedure 32.2(c)(1)(B) Concerning Petitions of The Federal Savings Bank and

National Bancorp Holdings, Inc. (“Reply”) (Dkt. No. 103) distorts the law and the record.

       The government first misstates the record when it asserts that the Collateral Properties

were forfeited as criminal proceeds. Reply at 4–8. But the government’s assertion that the

record clearly establishes the basis for forfeiture is belied by the consent forfeiture order, which

states that the Collateral Properties are forfeited as criminal proceeds or “in the alternative, as

substitute assets,” (Cr. Dkt. No. 443 at 3), and by the order of forfeiture, which states that the

Collateral Properties are forfeited as “proceeds” from the crime, “or [] property traceable thereto,

or, alternatively, can be forfeited as Substitute Property,” (Cr. Dkt. No. 549 at 2). 1 The


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 Similarly, Mr. Manafort agreed in his plea agreement that the Collateral Properties can “be
considered substitute assets for the purpose of forfeiture.” (Cr. Dkt. No. 422 at 11.)
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government now seeks to exploit this equivocation to the detriment of innocent third-party

petitioners, arguing that they are barred from re-litigating the basis for forfeiture and are bound

by an agreement the government struck with a convicted felon—who, conveniently for the

government, agreed to any and all bases of forfeiture—without ever offering any evidence

establishing any connection between the Collateral Properties and the crimes of conviction. But,

as the Second Circuit emphatically held in United States v. Daugerdas, that is unconstitutional.

892 F.3d 545, 558 (2d Cir. 2018).

       The government cites Daugerdas for other propositions but curiously omits Daugerdas’

watershed holding from its Reply. Because the government did not argue until its Reply that

Petitioners are precluded from challenging that the Collateral Properties are criminal proceeds

rather than substitute assets (Reply at 5), Petitioners are now compelled to respond.

        The Second Circuit held in Daugerdas that the wife of a defendant convicted of tax

fraud, who sought to assert a third-party interest in assets determined to be forfeitable to the

government as proceeds of the defendant’s crimes, had a Due Process right to challenge that

determination because “[i]t is a violation of due process for a judgment to be binding on a

litigant who was not a party or a privy and therefore has never had an opportunity to be heard.”

Id. at 557 (citing Parklane Hosiery Co. v. Shore, 439 U.S. 322, 327 n.7 (1979)). The Second

Circuit thus disagreed with the district court, which reasoned—as the government erroneously

does here—that because the question of whether the forfeited assets arose from the defendant’s

criminal activity had already been decided by the district court as part of the defendant’s

sentencing, the wife could not re-litigate the issue of whether those assets should be

characterized not as criminal proceeds but as substitute assets. The Second Circuit explained

that because the wife had been barred by 21 U.S.C. § 853(k) from participating in the husband’s


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criminal proceedings and challenging the basis for forfeiture, and because the distinction

between criminal proceeds and substitute assets is critical in determining when the interest in the

forfeited properties vests, it would be a violation of the wife’s Due Process rights to bind her “by

an adjudication of [an] issue . . . in a proceeding in which she was not permitted to participate.”

Id. at 558. Daugerdas thus plainly undercuts the government’s argument that Petitioners should

be precluded from re-litigating the basis for the forfeitability of the Collateral Properties. See

Reply at 5.

       The government asserts that, in any event, the record demonstrates the requisite nexus

between the Collateral Properties and the offense of conviction. It plainly does not. The

government does not cite to a single piece of evidence; rather, the government cites a slew of

documents—mostly, superseded indictments—that allege that the Collateral Properties were

among the specific properties traceable to Mr. Manafort’s crime. Reply at 6–9. 2 The

government then surmises that because Mr. Manafort pled guilty, he admitted to each of those

allegations thus establishing the requisite nexus. The government is wrong. First, Mr.

Manafort’s self-serving plea—which allowed him to forfeit properties in which he no longer had

an interest to satisfy the forfeiture judgment against him—does not preclude Petitioners from re-

litigating the basis for forfeiture, as Daugerdas held. Second, at his guilty plea, Mr. Manafort



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  The government also cites to the superseding indictments for the proposition that the grand jury
made an “express finding of probable cause that each of the [Collateral] Properties were among
the specific properties traceable to [Mr. Manafort’s] criminal conspiracy.” Reply at 7. But the
government is wrong in suggesting that a jury’s finding of probable cause to believe that certain
property will be subject to forfeiture upon conviction is equivalent to establishing the nexus
required by Federal Rule of Criminal Procedure 32.2(b)(1)(A) and precludes Petitioners from re-
litigating the basis for the forfeitability of the Collateral Properties. In any event, Mr. Manafort
did not plead guilty to any of the superseding indictments; rather, he pled guilty to a superseding
criminal information to which no finding of probable cause attaches. (See Cr. Dkt. No. 422 at
10.)

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was not allocuted on any facts establishing that the Collateral Properties were traceable to his

crimes of conviction. Rather, as explained, Mr. Manafort agreed to forfeit the Collateral

Properties as criminal proceeds “or” substitute assets, and the consent forfeiture order offers no

evidence for the forfeiture beyond Mr. Manafort’s agreement. If there is indeed “ample basis in

the record” to establish the requisite nexus, as the government now claims (Reply at 6), it is

baffling why the government would ask Mr. Manafort to forfeit the Collateral Properties as

criminal proceeds “or” substitute assets. 3

                                          CONCLUSION

       The Court should deny the government’s motion for discovery.

                                                     Respectfully submitted,

                                                     /s/ Seetha Ramachandran
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                                                     Bank and National Bancorp Holdings, Inc.


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  It is equally baffling that the government in passing also cites to Richard Gates’s trial testimony
from Mr. Manafort’s trial in the Eastern District of Virginia because the government there took
the position that Petitioners are victims of Mr. Manafort’s fraud. In any event, Mr. Gates’s
testimony proves nothing.

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